                 Case 1:16-cv-10796-LTS Document 1 Filed 04/29/16 Page 1 of 5



 1                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MASSACHUSETTS
 2

 3
     ANN MARIE RONCA,                                 )
 4
                                                      )
                    Plaintiff                         )       Case No.:
 5                                                    )
            v.                                        )
 6                                                    )       COMPLAINT AND DEMAND FOR
     RETRIEVAL – MASTERS CREDITORS                    )       JURY TRIAL
 7   BUREAU, INC. d/b/a AMERICAN                      )
     MEDICAL COLLECTION AGENCY,                       )
 8                                                    )       (Unlawful Debt Collection Practices)
                    Defendant                         )
 9
                                                      )
10
                                                COMPLAINT
11
            ANN MARIE RONCA (“Plaintiff”), by and through her attorneys, KIMMEL &
12
     SILVERMAN, P.C., alleges the following against RETRIEVAL – MASTERS CREDITORS
13
     BUREAU, INC. d/b/a AMERICAN MEDICAL COLLECTION AGENCY (“Defendant”):
14
                                             INTRODUCTION
15
            1.      Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act
16

17   (“FDPCA”), 15 U.S.C. § 1692 et seq.

18                                    JURISDICTION AND VENUE

19          2.      Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states

20   that such actions may be brought and heard before “any appropriate United States district court
21   without regard to the amount in controversy,” and 28 U.S.C. § 1331 grants this court original
22
     jurisdiction of all civil actions arising under the laws of the United States.
23
            3.      Defendant conducts business in the Commonwealth of Massachusetts, and as
24
     such, personal jurisdiction is established.
25
            4.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).

                                                          1

                                          PLAINTIFF’S COMPLAINT
                  Case 1:16-cv-10796-LTS Document 1 Filed 04/29/16 Page 2 of 5



 1                                                PARTIES
 2          5.       Plaintiff is a natural person residing in Charlestown, Massachusetts 02129.
 3
            6.       Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).
 4
            7.       In the alternative, Plaintiff is a person granted a cause of action under the
 5
     FDCPA. 15 U.S.C. § 1692k(a); see also Wenrich v. Cole, 2000 U.S. Dist LEXIS 18687 (E.D.
 6
     Pa. Dec. 22, 2000).
 7
            8.       Defendant is a national debt collection company with its corporate headquarters
 8
     located at: 4 Westchester Plaza, Suite 110, Elmsford, New York 10523.
 9
            9.       Defendant collects, and attempts to collect, consumer debts incurred, or alleged
10

11   to have been incurred, for personal, family or household purposes on behalf of creditors and

12   debt buyers using the U.S. Mail, telephone and/or internet.

13          10.      Defendant is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6),

14   and sought to collect a debt and repeatedly contacted Plaintiff in its attempts to collect a
15   consumer debt.
16
            11.      Defendant acted through its agents, employees, officers, members, directors,
17
     heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.
18
                                        FACTUAL ALLEGATIONS
19
            12.      At all relevant times, Defendant was attempting to collect an alleged consumer
20
     debt from Plaintiff.
21
            13.      Upon information and belief, the alleged debt at issue arose out of transactions
22

23
     that were primarily for personal, family, or household purposes.

24          14.      By way of background, beginning in or around January or February 2015,

25   Defendant began to place repeated harassing calls to Plaintiff’s cellular telephone.


                                                       2

                                          PLAINTIFF’S COMPLAINT
                   Case 1:16-cv-10796-LTS Document 1 Filed 04/29/16 Page 3 of 5



 1           15.        During the phone calls, representatives of the Defendant asked to speak to an
 2   unknown male named James.
 3
             16.        Soon after the calls began, Plaintiff informed Defendant that it had the incorrect
 4
     telephone number and to stop calling her.
 5
             17.        Defendant acknowledged Plaintiff’s request to cease calls and promised to
 6
     terminate calls to Plaintiff’s cellular telephone.
 7
             18.        However, the calls continued through September 2015.
 8
             19.        Plaintiff reiterated the request that calls cease on numerous occasions after the
 9
     initial request.
10

11           20.        Once Defendant was aware its calls were unwanted and that it was not calling the

12   correct telephone number any continued calls could only have been for the purpose of harassing

13   Plaintiff.

14           21.        These calls were particularly frustrating to Plaintiff as she has an autistic child
15   who has a hearing impairment. Often these calls would arrive when she was communicating
16
     with the child and would disrupt her ability to care of her child.
17
             22.        Defendant’s actions as described herein were taken with the intent to harass,
18
     upset and coerce payment of a third party’s debt from Plaintiff.
19

20                              DEFENDANT VIOLATED THE FAIR DEBT
                                    COLLECTION PRACTICES ACT
21
             23.        In its actions to collect a consumer debt, Defendant violated the FDCPA in the
22

23
     following ways:

24                                                  COUNT I

25           a.         A debt collector violates § 1692d of the FDCPA by engaging in conduct the


                                                          3

                                            PLAINTIFF’S COMPLAINT
                  Case 1:16-cv-10796-LTS Document 1 Filed 04/29/16 Page 4 of 5



 1   natural consequence of which is to harass, oppress, or abuse any person in connection with the
 2   collection of a debt.
 3
             b.      A debt collector violates § 1692d(5) of the FDCPA by causing a telephone to ring
 4
     or engaging any person in telephone conversation repeatedly or continuously with intent to
 5
     annoy, abuse, or harass any person at the called number.
 6
             c.      Here, Defendant violated §§ 1692d and 1692d(5) of the FDCPA when it placed
 7
     repeated harassing calls to Plaintiff, as well as continued to call her on her cellular telephone
 8
     after being told to stop calling her at that number, with the intent to annoy, abuse and harass her.
 9

10

11           WHEREFORE, Plaintiff, ANN MARIE RONCA, respectfully prays for a judgment as

12   follows:

13                   a.      All actual damages suffered pursuant to 15 U.S.C. § 1692k(a)(1);

14                   b.      Statutory damages of $1,000.00 for the violation of the FDCPA pursuant
15                           to 15 U.S.C. § 1692k(a)(2)(A);
16
                     c.      All reasonable attorneys’ fees, witness fees, court costs and other litigation
17
                             costs incurred by Plaintiff pursuant to 15 U.S.C. § 1693k(a)(3); and
18
                     d.      Any other relief deemed appropriate by this Honorable Court.
19

20
                                      DEMAND FOR JURY TRIAL
21
             PLEASE TAKE NOTICE that Plaintiff, ANN MARIE RONCA, demands a jury trial in
22

23
     this case.

24

25



                                                       4

                                          PLAINTIFF’S COMPLAINT
              Case 1:16-cv-10796-LTS Document 1 Filed 04/29/16 Page 5 of 5



 1                                       RESPECTFULLY SUBMITTED,
 2

 3   Date: 4/29/16                       By: /s/ Craig Thor Kimmel
                                            CRAIG THOR KIMMEL
 4
                                            BBO# 662924
 5
                                            Kimmel & Silverman, P.C.
                                            30 East Butler Pike
 6                                          Ambler, PA 19002
                                            Phone: (215) 540-8888
 7                                          Fax: (877) 788-2864
                                            kimmel@creditlaw.com
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



                                           5

                                 PLAINTIFF’S COMPLAINT
